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                                                                     § 112.3                                                                 40 CFR Ch. I (7–1–19 Edition)

                                                                     and is located in an oil or gas field, at                 as determined using the worksheets in
                                                                     a facility. This definition governs                       appendix D to this part.
                                                                     whether such structures, piping, or                       [67 FR 47140, July 17, 2002, as amended at 71
                                                                     equipment are subject to a specific sec-                  FR 77290, Dec. 26, 2006; 73 FR 71943, Nov. 26,
                                                                     tion of this part.                                        2008; 73 FR 74300, Dec. 5, 2008; 80 FR 37108,
                                                                       Regional Administrator means the Re-                    June 29, 2015; 83 FR 5208, Feb. 6, 2018]
                                                                     gional Administrator of the Environ-
                                                                     mental Protection Agency, in and for                      § 112.3 Requirement to prepare and
                                                                                                                                    implement a Spill Prevention, Con-
                                                                     the Region in which the facility is lo-                        trol, and Countermeasure Plan.
                                                                     cated.
                                                                                                                                  The owner or operator or an onshore
                                                                       Repair means any work necessary to
                                                                                                                               or offshore facility subject to this sec-
                                                                     maintain or restore a container to a
                                                                                                                               tion must prepare in writing and im-
                                                                     condition suitable for safe operation,
                                                                                                                               plement a Spill Prevention Control and
                                                                     other than that necessary for ordinary,
                                                                                                                               Countermeasure Plan (hereafter ‘‘SPCC
                                                                     day-to-day maintenance to maintain                        Plan’’ or ‘‘Plan’’),’’ in accordance with
                                                                     the functional integrity of the con-                      § 112.7 and any other applicable section
                                                                     tainer and that does not weaken the                       of this part.
                                                                     container.                                                   (a)(1) Except as otherwise provided in
                                                                       Spill Prevention, Control, and Counter-                 this section, if your facility, or mobile
                                                                     measure Plan; SPCC Plan, or Plan means                    or portable facility, was in operation
                                                                     the document required by § 112.3 that                     on or before August 16, 2002, you must
                                                                     details the equipment, workforce, pro-                    maintain your Plan, but must amend
                                                                     cedures, and steps to prevent, control,                   it, if necessary to ensure compliance
                                                                     and provide adequate countermeasures                      with this part, and implement the
                                                                     to a discharge.                                           amended Plan no later than November
                                                                       Storage capacity of a container means                   10, 2011. If such a facility becomes oper-
                                                                     the shell capacity of the container.                      ational after August 16, 2002, through
                                                                       Transportation-related and non-trans-                   November 10, 2011, and could reason-
                                                                     portation-related, as applied to an on-                   ably be expected to have a discharge as
                                                                     shore or offshore facility, are defined                   described in § 112.1(b), you must prepare
                                                                     in the Memorandum of Understanding                        and implement a Plan on or before No-
                                                                     between the Secretary of Transpor-                        vember 10, 2011. If such a facility (ex-
                                                                     tation and the Administrator of the                       cluding oil production facilities) be-
                                                                     Environmental      Protection     Agency,                 comes operational after November 10,
                                                                     dated November 24, 1971, (appendix A of                   2011, and could reasonably be expected
                                                                     this part).                                               to have a discharge as described in
                                                                       United States means the States, the                     § 112.1(b), you must prepare and imple-
                                                                     District of Columbia, the Common-                         ment a Plan before you begin oper-
                                                                     wealth of Puerto Rico, the Common-                        ations. You are not required to prepare
                                                                     wealth of the Northern Mariana Is-                        a new Plan each time you move a mo-
                                                                                                                               bile or portable facility to a new site;
                                                                     lands, Guam, American Samoa, the
                                                                                                                               the Plan may be general. When you
                                                                     U.S. Virgin Islands, and the Pacific Is-
                                                                                                                               move the mobile or portable facility,
                                                                     land Governments.
                                                                                                                               you must locate and install it using
                                                                       Vegetable oil means a non-petroleum                     the discharge prevention practices out-
                                                                     oil or fat of vegetable origin, including                 lined in the Plan for the facility. The
                                                                     but not limited to oils and fats derived                  Plan is applicable only while the mo-
                                                                     from plant seeds, nuts, fruits, and ker-                  bile or portable facility is in a fixed
                                                                     nels.                                                     (non-transportation) operating mode.
                                                                       Vessel means every description of                          (2) If your drilling, production or
                                                                     watercraft or other artificial contriv-                   workover facility, including a mobile
                                                                     ance used, or capable of being used, as                   or portable facility, is offshore or has
                                                                     a means of transportation on water,                       an offshore component; or your on-
                                                                     other than a public vessel.                               shore facility is required to have and
                                                                       Worst case discharge for an onshore                     submit a Facility Response Plan pursu-
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                                                                     non-transportation-related        facility                ant to 40 CFR 112.20(a), and was in op-
                                                                     means the largest foreseeable dis-                        eration on or before August 16, 2002,
                                                                     charge in adverse weather conditions                      you must maintain your Plan, but

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                                                                     Environmental Protection Agency                                                                      § 112.3

                                                                     must amend it, if necessary to ensure                        (d) Except as provided in § 112.6, a li-
                                                                     compliance with this part, and imple-                     censed Professional Engineer must re-
                                                                     ment the amended Plan no later than                       view and certify a Plan for it to be ef-
                                                                     November 10, 2010. If such a facility be-                 fective to satisfy the requirements of
                                                                     comes operational after August 16,                        this part.
                                                                     2002, through November 10, 2010, and                         (1) By means of this certification the
                                                                     could reasonably be expected to have a                    Professional Engineer attests:
                                                                     discharge as described in § 112.1(b), you                    (i) That he is familiar with the re-
                                                                     must prepare and implement a Plan on                      quirements of this part ;
                                                                     or before November 10, 2010. If such a                       (ii) That he or his agent has visited
                                                                     facility (excluding oil production fa-                    and examined the facility;
                                                                     cilities) becomes operational after No-                      (iii) That the Plan has been prepared
                                                                     vember 10, 2010, and could reasonably                     in accordance with good engineering
                                                                     be expected to have a discharge as de-                    practice, including consideration of ap-
                                                                     scribed in § 112.1(b), you must prepare                   plicable industry standards, and with
                                                                     and implement a Plan before you begin                     the requirements of this part;
                                                                     operations. You are not required to                          (iv) That procedures for required in-
                                                                     prepare a new Plan each time you                          spections and testing have been estab-
                                                                     move a mobile or portable facility to a                   lished; and
                                                                     new site; the Plan may be general.                           (v) That the Plan is adequate for the
                                                                     When you move the mobile or portable                      facility.
                                                                     facility, you must locate and install it                     (vi) That, if applicable, for a pro-
                                                                     using the discharge prevention prac-                      duced water container subject to
                                                                     tices outlined in the Plan for the facil-                 § 112.9(c)(6), any procedure to minimize
                                                                     ity. The Plan is applicable only while                    the amount of free-phase oil is de-
                                                                     the mobile or portable facility is in a                   signed to reduce the accumulation of
                                                                     fixed (non-transportation) operating                      free-phase oil and the procedures and
                                                                                                                               frequency for required inspections,
                                                                     mode.
                                                                                                                               maintenance and testing have been es-
                                                                        (3) If your farm, as defined in § 112.2,
                                                                                                                               tablished and are described in the Plan.
                                                                     was in operation on or before August
                                                                                                                                  (2) Such certification shall in no way
                                                                     16, 2002, you must maintain your Plan,
                                                                                                                               relieve the owner or operator of a facil-
                                                                     but must amend it, if necessary to en-                    ity of his duty to prepare and fully im-
                                                                     sure compliance with this part, and im-                   plement such Plan in accordance with
                                                                     plement the amended Plan on or before                     the requirements of this part.
                                                                     May 10, 2013. If your farm becomes                           (e) If you are the owner or operator
                                                                     operational after August 16, 2002,                        of a facility for which a Plan is re-
                                                                     through May 10, 2013, and could reason-                   quired under this section, you must:
                                                                     ably be expected to have a discharge as                      (1) Maintain a complete copy of the
                                                                     described in § 112.1(b), you must prepare                 Plan at the facility if the facility is
                                                                     and implement a Plan on or before May                     normally attended at least four hours
                                                                     10, 2013. If your farm becomes oper-                      per day, or at the nearest field office if
                                                                     ational after May 10, 2013, and could                     the facility is not so attended, and
                                                                     reasonably be expected to have a dis-                        (2) Have the Plan available to the Re-
                                                                     charge as described in § 112.1(b), you                    gional Administrator for on-site review
                                                                     must prepare and implement a Plan be-                     during normal working hours.
                                                                     fore you begin operations.                                   (f) Extension of time. (1) The Regional
                                                                        (b) If your oil production facility as                 Administrator may authorize an exten-
                                                                     described in paragraph (a)(1) of this                     sion of time for the preparation and
                                                                     section becomes operational after No-                     full implementation of a Plan, or any
                                                                     vember 10, 2011, or as described in para-                 amendment thereto, beyond the time
                                                                     graph (a)(2) of this section becomes                      permitted for the preparation, imple-
                                                                     operational after November 10, 2010,                      mentation, or amendment of a Plan
                                                                     and could reasonably be expected to                       under this part, when he finds that the
                                                                     have a discharge as described in                          owner or operator of a facility subject
                                                                     § 112.1(b), you must prepare and imple-                   to this section, cannot fully comply
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                                                                     ment a Plan within six months after                       with the requirements as a result of ei-
                                                                     you begin operations.                                     ther nonavailability of qualified per-
                                                                        (c) [Reserved]                                         sonnel, or delays in construction or

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                                                                     § 112.4                                                                 40 CFR Ch. I (7–1–19 Edition)

                                                                     equipment delivery beyond the control                     scribed in § 112.1(b) each exceeding 42
                                                                     and without the fault of such owner or                    U.S. gallons within any twelve month
                                                                     operator or his agents or employees.                      period in the three years prior to the
                                                                       (2) If you are an owner or operator                     SPCC Plan self-certification date, or
                                                                     seeking an extension of time under                        since becoming subject to this part if
                                                                     paragraph (f)(1) of this section, you                     the facility has been in operation for
                                                                     may submit a written extension re-                        less than three years (other than dis-
                                                                     quest to the Regional Administrator.                      charges as described in § 112.1(b) that
                                                                     Your request must include:                                are the result of natural disasters, acts
                                                                       (i) A full explanation of the cause for                 of war, or terrorism), and has an aggre-
                                                                     any such delay and the specific aspects                   gate aboveground oil storage capacity
                                                                     of the Plan affected by the delay;                        of 10,000 U.S. gallons or less.
                                                                       (ii) A full discussion of actions being                 [67 FR 47140, July 17, 2002, as amended at 68
                                                                     taken or contemplated to minimize or                      FR 1351, Jan. 9, 2003; 68 FR 18894, Apr. 17,
                                                                     mitigate such delay; and                                  2003; 69 FR 48798, Aug. 11, 2004; 71 FR 8466,
                                                                       (iii) A proposed time schedule for the                  Feb. 17, 2006; 71 FR 77290, Dec. 26, 2006; 72 FR
                                                                     implementation of any corrective ac-                      27447, May 16, 2007; 73 FR 74301, Dec. 5, 2008,
                                                                     tions being taken or contemplated, in-                    74 FR 29141, June 19, 2009; 74 FR 58809, Nov.
                                                                                                                               13, 2009; 75 FR 63102, Oct. 14, 2010; 76 FR 21660,
                                                                     cluding interim dates for completion of
                                                                                                                               Apr. 18, 2011; 76 FR 64248, Oct. 18, 2011; 76 FR
                                                                     tests or studies, installation and oper-                  72124, Nov. 22, 2011]
                                                                     ation of any necessary equipment, or
                                                                     other preventive measures. In addition                    § 112.4 Amendment of Spill Preven-
                                                                     you may present additional oral or                             tion, Control, and Countermeasure
                                                                     written statements in support of your                          Plan by Regional Administrator.
                                                                     extension request.                                           If you are the owner or operator of a
                                                                       (3) The submission of a written ex-                     facility subject to this part, you must:
                                                                     tension request under paragraph (f)(2)                       (a) Notwithstanding compliance with
                                                                     of this section does not relieve you of                   § 112.3, whenever your facility has dis-
                                                                     your obligation to comply with the re-                    charged more than 1,000 U.S. gallons of
                                                                     quirements of this part. The Regional                     oil in a single discharge as described in
                                                                     Administrator may request a copy of                       § 112.1(b), or discharged more than 42
                                                                     your Plan to evaluate the extension re-                   U.S. gallons of oil in each of two dis-
                                                                     quest. When the Regional Adminis-                         charges as described in § 112.1(b), occur-
                                                                     trator authorizes an extension of time                    ring within any twelve month period,
                                                                     for particular equipment or other spe-                    submit the following information to
                                                                     cific aspects of the Plan, such exten-                    the Regional Administrator within 60
                                                                     sion does not affect your obligation to                   days from the time the facility be-
                                                                     comply with the requirements related                      comes subject to this section:
                                                                     to other equipment or other specific as-                     (1) Name of the facility;
                                                                     pects of the Plan for which the Re-                          (2) Your name;
                                                                     gional Administrator has not expressly                       (3) Location of the facility;
                                                                     authorized an extension.                                     (4) Maximum storage or handling ca-
                                                                       (g) Qualified Facilities. The owner or                  pacity of the facility and normal daily
                                                                     operator of a qualified facility as de-                   throughput;
                                                                     fined in this subparagraph may self-                         (5) Corrective action and counter-
                                                                     certify his facility’s Plan, as provided                  measures you have taken, including a
                                                                     in § 112.6. A qualified facility is one                   description of equipment repairs and
                                                                     that meets the following Tier I or Tier                   replacements;
                                                                     II qualified facility criteria:                              (6) An adequate description of the fa-
                                                                       (1) A Tier I qualified facility meets                   cility, including maps, flow diagrams,
                                                                     the qualification criteria in paragraph                   and topographical maps, as necessary;
                                                                     (g)(2) of this section and has no indi-                      (7) The cause of such discharge as de-
                                                                     vidual aboveground oil storage con-                       scribed in § 112.1(b), including a failure
                                                                     tainer with a capacity greater than                       analysis of the system or subsystem in
                                                                     5,000 U.S. gallons.                                       which the failure occurred;
                                                                       (2) A Tier II qualified facility is one                    (8) Additional preventive measures
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                                                                     that has had no single discharge as de-                   you have taken or contemplated to
                                                                     scribed in § 112.1(b) exceeding 1,000 U.S.                minimize the possibility of recurrence;
                                                                     gallons or no two discharges as de-                       and

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